          Case 1:22-cv-00384-JSR Document 190 Filed 06/23/23 Page 1 of 4


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 HERMÈS INTERNATIONAL and
 HERMÈS OF PARIS, INC.,

             Plaintiffs,

      -v-
                                               22-cv-384 (JSR)

 MASON ROTHSCHILD,                             ORDER OF
                                               PERMANENT INJUNCTION
             Defendant.



JED S. RAKOFF, U.S.D.J.:

     Following a jury trial in which an eight-person jury rendered a

unanimous verdict in favor of plaintiffs Hermès International and

Hermès of Paris, Inc. (collectively, “Hermès”) on its claims for

trademark infringement, trademark dilution, and cybersquatting and

determined that the First Amendment did not bar                 defendant Mason

Rothschild’s liability on these claims, and for the reasons detailed

in the Court’s Opinion and Order dated June 23, 2023, it is hereby

ORDERED   that    Rothschild,   and   his     associates,    business    partners,

influencers, representatives, and all others in active concert or

participation with him who receive actual notice of this Order, are

permanently enjoined from:

     1.     Manufacturing, minting, issuing, producing, distributing,

            circulating,     selling,       marketing,   offering       for   sale,

            advertising, promoting, renting, or otherwise disposing of

            the   “MetaBirkins”    non-fungible     tokens    (“NFTs”)     and   any


                                        1
          Case 1:22-cv-00384-JSR Document 190 Filed 06/23/23 Page 2 of 4


            merchandise related to the “MetaBirkins” NFTs, including

            without   limitation,     listing      the   “MetaBirkins”     NFTs    or

            related merchandise for sale on any marketplace, collecting

            royalties in connection with the “MetaBirkins” NFTs, and/or

            otherwise disposing of the “MetaBirkins” NFTs;

     2.     Making any statement or representation or performing any act

            that is likely to lead the public to believe that any

            “MetaBirkins” NFTs or related merchandise are in any manner

            associated or connected with Hermès and/or its “Birkin”

            trademark and/or trade dress;

     3.     Using the infringing “MetaBirkins” mark on social media

            platforms to facilitate the circulation, sale, marketing,

            advertising, promoting, and renting of the “MetaBirkins”

            NFTs or related merchandise;

     4.     Registering,    using,   or       trafficking   any   domain   names   or

            social media or NFT platform usernames or handles that use

            and/or incorporate the “MetaBirkins” mark; and

     5.     Providing any benefits to holders of the “MetaBirkins” NFTs,

            such as airdrops, or otherwise creating incentives for third

            parties to purchase “MetaBirkins” NFTs.

     It is further ORDERED that Rothschild shall, by no later than

July 15, 2023, at Rothschild’s expense:

    1.     Transfer any domain names containing the “Birkin” mark to

           Hermès, including “metabirkins.com”;



                                          2
             Case 1:22-cv-00384-JSR Document 190 Filed 06/23/23 Page 3 of 4


    2.        Contact      by    e-mail,     text,     or    other      written       form    of

              communication all persons to whom Rothschild gave, sold,

              issued, or distributed a “MetaBirkins” NFT or whitelist spot

              to mint a “MetaBirkins” NFT, and provide each of those

              persons with a copy of this Order; and

    3.        Airdrop to all “MetaBirkins” NFTs holders a copy of this

              Order.

        It is further ORDERED that Rothschild shall, by no later than

June 30, 2023, specify in writing any royalties, transfer income, or

financial benefits that he has earned from the “MetaBirkins” NFTs from

January 31, 2023 through June 30, 2023, and shall transfer these

earnings to Hermès by no later than July 15, 2023.

        It   is   further       ORDERED    that   Hermès,        Rothschild,    and    any    of

Rothschild’s           associates,          business         partners,         influencers,

representatives and other affiliates, and all others in active concert

or participation with him who receive actual notice of this Order, are

enjoined       from    destroying,        hiding,    dissipating,        or    altering      any

documents, including electronic records and social media posts, that

relate in any way to this lawsuit.

        It is further ORDERED that, pending the final disposition of any

post-trial motion or appeal in this case, Hermès shall archive the

webpage that is currently posted on the “metabirkins.com” website and

on any other domain name that is transferred to it.

        It is further ORDERED that Rothschild shall file a declaration

under    penalty      of   perjury    stating       that    he    has   complied   with      the

                                              3
        Case 1:22-cv-00384-JSR Document 190 Filed 06/23/23 Page 4 of 4


foregoing requirements, including a list of all persons to whom he has

sent the required Order, by no later than August 1, 2023.

     This Court shall retain jurisdiction over this action for the

purpose of implementing and enforcing this Permanent Injunction.




                                      4
